
327 S.E.2d 889 (1985)
Herschel H. HANEY, Jr., Administrator of the Estate of Herschel H. Haney, Sr.
v.
Dr. J.B. ALEXANDER, Dr. H.N. Lee and Southeastern General Hospital, Inc.
No. 51P85.
Supreme Court of North Carolina.
February 27, 1985.
*890 Harris, Cheshire, Leager &amp; Southern, Raleigh, for defendant (Hospital).
McLeod &amp; Senter, Fayetteville, for plaintiff.
Defendant's (Hospital) petition for writ of certiorari to review the decision of the North Carolina Court of Appeals. Denied.
